Case 2:04-cr-20241-.]DB Document 96 Filed 07/01/05 Page 1 of 2 Page|D 94

 

iN THE uNlTED sTATEs DlsancT couRT mo `sv_ ______p¢
FoR THE wEsTEnN clsTi=ncT oF TENNESSEE -; -`
wEsTEnN DivrsloN 05 JllL -l All 7¢ 56
THOW»S lt GOULD
uNiTED sTATEs oF AMERch, C\%U-S. DISW
0F TN.

Plaintiff,

VS.
CR. NO. 04-20241-B

CUF~lT|S BYRD, JAMES SCRUGGS,
FlANELLE SCRUGGS,

Defendants.

 

ORDEFl ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel torthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

re ort date of Monda Au ust 29 2005 at 9:30 a.m., in Courtroom 1. 11th__Floor ot the

 

Federa| Building, Memphis, TN.

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice sawed in allowing for additional
time to prepare outweigh the need for a speedy tria|.

ir is so onDERED this 30 day of June, 2005.
J. lEL BHEEN \
lT D sTATEs DisTnicT JuDeE

This docl__rnent entered on the docket s t in compliance
with Ruie 55 and/or 32th FRCrP on __t: “QQY_`

 

%)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:04-CR-20241 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

Memphis7 TN 38103

Lee Howard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable J. Breen
US DISTRICT COURT

